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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                             MARSHALL DIVISION



   HANSHOW TECHNOLOGY CO., LTD. AND         )
   SHANGHAI HANSHI INFORMATION              )
   TECHNOLOGY CO., LTD.                     )   Case No. 2:23-cv-00617-RWS-RSP
                                            )
                    Plaintiffs,             )
                                            )
              v.                            )
                                            )
   SES-IMAGOTAG SA, SES-IMAGOTAG GMBH       )
   AND CAPTANA GMBH                         )
                  Defendants.


        PLAINTIFFS’ OPPOSITION TO SES-IMAGOTAG GMBH AND CAPTANA
     GMBH’S MOTION TO DISMISS COMPLAINT PURSUANT TO FED. R. CIV. P.
                                12(B)(2)
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  I.     INTRODUCTION

         VusionGroup GmbH (formerly known as SES-imagotag GmbH) and Captana GmbH’s

  (together “Moving Defendants”) Motion to Dismiss (Dkt No. 38) (“Motion”) is replete with

  disingenuous statements asserting that the Moving Defendants have no contact with Texas or the

  United States in general. 1 These assertions are incorrect. As Plaintiffs Hanshow Technology Co.,

  Ltd. and Shanghai Hanshi Information Technology Co. Ltd. (collectively, “Hanshow” or

  “Plaintiffs”) sufficiently pled in the Complaint, Moving Defendants are subject to personal

  jurisdiction in the State of Texas.

         Moving Defendants are involved in the                                                  of

  the Captana cameras and system and VUSION electronic shelf label (ESL) products (the “Accused

  Products”) that are sold in the United States and that are accused of infringement in this case.



                                                                              Moving Defendants




                                              .




  1
   VusionGroup SA (f/k/a SES-imagotag SA) is also a named defendant and does not challenge
  personal jurisdiction and/or join Moving Defendants’ Motion.

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          Moreover, Moving Defendants



                                                                                        .

          Further, even if Moving Defendants were not subject to personal jurisdiction in Texas,

  personal jurisdiction is established under Fed. R. Civ. P. 4(k)(2), which states that for a federal law

  claim, like this one, personal jurisdiction exists if the defendant is not subject to jurisdiction in any

  state’s court of general jurisdiction, and exercising jurisdiction is consistent with the U.S.

  Constitution and laws.

          Thus, this Court has personal jurisdiction over the Moving Defendants. Accordingly,

  Plaintiffs respectfully request that the Court deny the Moving Defendants’ Motion.

  II.     BACKGROUND AND STATEMENT OF FACTS

          Moving Defendants, Captana GmbH and VusionGroup GmbH (f/k/a SES-imagotag

  GmbH), filed the Motion on April 25, 2024, alleging that this Court does not have personal

  jurisdiction over Moving Defendants. See e.g., Motion at 1. VusionGroup SA (f/k/a SES-

  imagotag SA) is a named defendant but does not challenge personal jurisdiction or join Moving

  Defendants’ Motion. The Court ordered Plaintiffs to complete jurisdictional discovery by July 8,

  2024 and to respond to Moving Defendants’ Motion by July 29, 2024. See Dkt. No. 45.

          Captana GmbH, VusionGroup GmbH, and VusionGroup SA are the named Defendants in

  this case. Moving Defendants are wholly-owned subsidiaries of VusionGroup SA, who does not

  join the Moving Defendants’ Motion to Dismiss.

          VusionGroup SA is a French corporation that is the parent company to Moving Defendants

  and                                                                                                . Ex.

  4, (VUSIONGROUP_EDTX_009937).

                                                                        For example, VusionGroup SA

                                                     2
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  Motion at 2; see also id. at 9 (“As stated, VusionGroup GmbH is located in, and conducts its

  business in Austria.”). As Ms. Vittorio, the same individual who submitted declarations on behalf

  of VusionGroup GmbH and Captana GmbH, testified to during her deposition,




                                                     Ex. 1 at 48:20–50:11; 56:4–9; see also Ex. 5



  VusionGroup GmbH also                                                                      . See

  Ex. 1 at 80:6–17.

         While VusionGroup GmbH does not have an office in Texas,




                                 Ex. 1 at 63:4–10; Ex. 3 at 13. Contrary to Moving Defendants’

  assertions, VusionGroup GmbH

                      Ex. 1 at 50:12–17.

         VusionGroup Inc. is a wholly-owned subsidiary of VusionGroup SA that is based in the

  United States. See Ex. 4.




  Tr.). For example, VusionGroup Inc.




                                                 4
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                                        . Ex. 1 at 51:13–20; see also Ex. 7; Ex. 1-9.

                                                                      . Ex. 1 at 90:9–14. As discussed

  above in connection with Captana GmbH and VusionGroup GmbH, VusionGroup Inc.



                               See    Ex.    8   (VUSIONGROUP_EDTX_010649–667);                 Ex.    9

  (VUSIONGROUP_EDTX_010598–603); Ex. 5; Ex. 6.

  III.   ARGUMENT AND AUTHORITIES

         A.       Legal Standard

         Federal Rule of Civil Procedure 12(b)(2) requires a court to dismiss a claim if the court

  does not have personal jurisdiction over the defendant. Fed. R. Civ. P. 12(b)(2). After a defendant

  files a motion to dismiss for lack of personal jurisdiction, it is the plaintiff’s burden to establish

  that personal jurisdiction exists.     Largan Precision Co., Ltd. v. Ability Opto-Electronics

  Technology Co., Ltd., 2020 WL 569815, *2 (E.D. Tex. 2020) (citing Bullion v. Gillespie, 895 F.2d

  213, 217 (5th Cir. 1990). When a court rules on a motion to dismiss for lack of personal jurisdiction

  without holding an evidentiary hearing, the plaintiff must present sufficient facts as to make out a

  prima facie case supporting jurisdiction to satisfy its burden. Largan Precision Co., 2020 WL

  569815 at *2. When considering the motion to dismiss, the court must accept as true the plaintiff's

  uncontroverted allegations and resolve all factual disputes in favor of the plaintiff. Id.

         A federal court may exercise personal jurisdiction over a foreign defendant if (1) the long-

  arm statute of the state in which the federal court sits creates personal jurisdiction over the foreign

  defendant, and (2) the exercise of personal jurisdiction over the defendant is consistent with the

  due process guarantees of the United States Constitution. Frito-Lay North America, Inc. v.

  Medallion Foods, Inc. (E.D. Tex. Mar. 30, 2012). The Texas long-arm statute extends to the full

  extent permitted by the Due Process Clause and creates personal jurisdiction over foreign

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  defendants. Therefore, the personal jurisdiction analysis rests on determining if the Court’s

  exercise of personal jurisdiction is consistent with due process.

         Exercise of personal jurisdiction over a defendant is consistent with due process if (1) the

  defendant has purposefully availed itself of the benefits and protections of the forum state by

  establishing minimum contacts with the forum state; and (2) the exercise of jurisdiction over the

  defendant does not offend traditional notions of fair play and substantial justice. Frito-Lay, 867

  F.Supp.2d at 864.

         “Minimum contacts” can be established through contacts sufficient to support the exercise

  of either general or specific jurisdiction. Id. (citing Viam Corp. v. Iowa Export-Import Trading

  Co., 84 F.3d 424, 428 (Fed. Cir. 1996); J. McIntyre Machinery, Ltd. v. Nicastro, 131 S.Ct. 2780,

  2787–88 (2011)).      General jurisdiction over nonresident defendant exists only when the

  defendant's contacts with the forum state are continuous and systemic. Frito-Lay, 867 F.Supp.2d

  at 865. Specific jurisdiction exists over a nonresident defendant where the plaintiff alleges a cause

  of action which grows out of or relates to a contact between the defendant and the forum state. Id.;

  Bristol-Myers Squibb Co. v. Superior Court of Cal., 137 S. Ct. 1773, 1780–81 (2017). In cases

  where a district court exercises specific jurisdiction over a nonresident defendant there needs to be

  some act by which the defendant purposefully avails itself of the privilege of conducting activities

  within the forum state, thus invoking the benefits and protections of its laws. Frito-Lay, 867

  F.Supp.2d at 865; J. McIntyre Machinery, Ltd. v. Nicastro, 564 U.S. 873, 882 (2011).

         Courts have held that a defendant placing a product into the stream of commerce may

  provide the basis to establish specific personal jurisdiction over the defendant. See World-Wide

  Volkswagen Corp. v. Woodson, 444 U.S. 286, 297–98 *1980); Beverly Hills Fan Co. v. Royal

  Sovereign Corp., 21 F.3d 1558, 1566 (Fed. Cir. 1994). The exercise of specific jurisdiction under



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  a stream of commerce theory is proper if a defendant’s conduct and connections with the forum

  state are such that they should have reasonably have anticipated being brought into court there.

  Beverly Hills Fan, 21 F.3d at 1566; Largan Precision Co. v. Ability Opto-Electronics Tech. Co.,

  2020 WL 569815, *6 (E.D. Tex. 2020).

         B.      The Court Has Specific Jurisdiction Over the Moving Defendants

         As Moving Defendants recognize, specific jurisdiction exists when (1) the defendant

  purposefully directs its activities to the forum State, (2) the claims arise out of or relate to those

  activities; and (3) the assertion of jurisdiction is reasonable and fair. Motion at 5. All of those

  elements are met here. 3



         Plaintiffs allege that Moving Defendants “market, advertise, and/or otherwise promote

  globally the VUSION digital shelf platform, which includes, among other things, the accused

  infringing Captana devices, systems, and/or functionality, and VUSION electronic shelf labels

  (“VUSION ESLS”)” and cite VusionGroup’s “A VUSION for the future 2022-2027 Strategic

  Plan” (Exhibit 3 to the Complaint) in support. Dkt. No. 1 at ¶ 9; Dkt. No. 1-4. As “A VUSION

  for the future 2022-2027 Strategic Plan” establishes, and as the below figure shows, the Captana

  Accused Products are already running in many stores, including stores in the United States. See

  Dkt. No. 1-4 at 93.




  3
    For purposes of responding to the Motion, Plaintiffs believe that specific jurisdiction exists
  under at least a stream of commerce theory. However, Plaintiffs do not concede that general
  jurisdiction exists.

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  Further, Plaintiffs correctly allege that personal jurisdiction exists because “Defendants, directly

  or through intermediaries, have established minimum contacts with the State of Texas such that

  the exercise of jurisdiction would not offend traditional notions of fair play and substantial justice,”

  note that “Defendants have made, used, provided, supplied, distributed, sold, offered for sale,

  and/or imported” the Accused Products in Texas and continue to do so, and identify hiring that is

  occurring in Texas related to sales of the Accused Products. Dkt. No. 1 at ¶¶ 14–15.

         While Moving Defendants take issue with these assertions, they selectively cherry pick the

  specific allegations they refute, asserting only that Moving Defendants do not “make, sell,

  advertise, or import any Captana™ in or into the United States or the State of Texas.” Motion at

  6. Moving Defendants identify only those allegations, because they cannot refute that Moving

  Defendants

                     .




                    See Ex. 1 at 80:6–17, 47:12–14; Ex. 2 at 13:12–14:22. See also Ex. 3 at 13. It is


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  also undisputed that not only are the Captana Accused Products and VUSION ESLs



                                                                 Ex. 1 at 50:12–17, 51:13–20;

  see also Ex. 2 at 13:2–11; Ex. 7; Ex. 1-9.




                                                                                       Ex. 2 at

  13:2–14:2.

                                                                            Id. at 15:4–10.

         Captana GmbH also provides




                                                            . Ex. 2 at 9:15–10:1; 53:12–21. For

  example,

                                                                          Id. at 9:15–10:1.



               Id. at 9:1–5.



               Id. at 47:1–20; see also Ex. 10.




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                                                                             . 1 at 66:12–21.




                                . Ex. 1 at 89:18–90:14.



                                Ex. 1 at 50:12–17.




                                                                         Ex. 1 at 63:4–10; Ex. 3 at

  12–13. As alleged in the Complaint, Moving Defendants conduct substantial business in Texas

  either directly or through intermediaries such as VusionGroup SA and VusionGroup Inc. Dkt. No.

  1 at ¶ 13.

          Additionally, while Moving Defendants assert that Plaintiffs’ allegations are somehow

  unclear or non-specific because they refer to Defendants as a whole and not Moving Defendants

  individually, this point is of no moment as the allegations regarding the Moving Defendants and

  VusionGroup SA’s interactions with Texas apply to all three entities. Similarly, while the Moving

  Defendants assert that the Complaint does not allege any specific locations in Texas that the

  Moving Defendants have contact with, Moving Defendants ignore that the Complaint expressly

  identifies VusionGroup Inc.’s office in Texas. Dkt. No. 1 ¶¶ 13–15. As discussed above,



        . Ex. 1 at 63:4–10, 66:12–21; Ex. 3 at 12–13.




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         Hanshow has established that the Moving Defendants have minimum contacts with Texas,

  and Moving Defendants conduct and connections with Texas are such that they should reasonably

  have anticipated being brought into court in Texas.

                 2.      Personal Jurisdiction Exists Over the Moving Defendants Under a
                         Stream of Commerce Theory

         Contrary to the Moving Defendants’ assertions, Hanshow has established specific

  jurisdiction under the “stream of commerce” theory. The stream of commerce theory recognizes

  that “[t]he forum State does not exceed its powers under the Due Process Clause if it asserts

  personal jurisdiction over a corporation that delivers its products into the stream of commerce with

  the expectation that they will be purchased by consumers in the forum State.” World-Wide

  Volkswagen Corp. v. Woodson, 444 U.S. 286, 297–98 (1980).              While Moving Defendants

  recognize this, they argue that Moving Defendants have not sent goods to the forum state because

  VusionGroup GmbH does not sell products and the Complaint does not offer specific facts that

  Captana GmbH purposefully directs products to the state of Texas or anywhere else in the United

  States. Motion at 8–9. The Moving Defendants then make the wholly unsupported and incorrect

  assertion that the evidence confirms the opposite. Id. The Moving Defendants’ arguments fail.

         The Federal Circuit has recognized that the exact requirements of the stream of commerce

  theory are unsettled. See Beverly Hills Fan Co. v. Royal Sovereign Corp., 21 F.3d 1558, 1566–67

  (Fed. Cir. 1994). In one version of the stream of commerce theory, “the exercise of personal

  jurisdiction requires more than the mere act of placing a product in the stream of commerce …

  there must be in addition ‘an action of the defendant purposefully directed toward the forum

  State.’” Id. at 1566 (citing Asahi, 480 U.S. at 112) (emphasis in original). In another version of

  the stream of commerce theory, the showing of additional conduct is unneeded. See Beverly Hills,

  21 F.3d at 1566 (“‘The stream of commerce refers not to unpredictable currents or eddies, but to


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  the regular and anticipated flow of products from manufacture to distribution to retail sale…. A

  defendant who has placed goods in the stream of commerce benefits economically from the retail

  sale of the final product in the forum State, and indirectly benefits from the State’s laws that

  regulate and facilitate commercial activity.’”) (citing Asahi, 480 at 117.). While the Federal Circuit

  has not commented on which version of the stream of commerce theory is proper, the Federal

  Circuit articulated the necessary ingredients for the exercise of jurisdiction consistent with due

  process: “defendants, acting in consort, placed the accused [product] in the stream of commerce,

  they knew the likely destination of the products, and their conduct and connections with the forum

  state were such that they should reasonably have anticipated being brought into court there.”

  Beverly Hills, 21 F.3d at 1566.

         The debate on the exact requirements of the stream of commerce theory does not need to

  be settled here because Plaintiffs provide the evidence required to make the jurisdictional showing

  under either version of the stream of commerce theory, and the evidence provides the necessary

  ingredients for the exercise of personal jurisdiction consistent with due process.




                                                                                   .

         Additionally, this Court has held that the mere act of placing products on an online

  marketplace accessible by Texas consumers is sufficient to establish personal jurisdiction under a

  stream of commerce theory. See Seasons USA, Inc. v. SCS Direct, Inc., 2023 WL 5344342, *2

  (E.D. Tex. June 9, 2023) (holding that placing products on Amazon is sufficient contact because

  “without limiting sales to Texas, it is foreseeable that SCS's products may end up in Texas via



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  Amazon.”). As alleged in the Complaint, the Accused Products including the Captana system and

  VUSION ESLs are marketed on VusionGroup’s website. See, e.g., Dkt. No. 1 at ¶¶ 26, 34. This

  website is accessible in the United States, including in Texas.



                                             Ex. 2 at 40:23–41:2, 46:7–47:20, 48:5–20; Ex. 1 at

  62:6–21. Therefore, like in Seasons USA, it is foreseeable that Moving Defendants’ products may

  end up in Texas because there are no restrictions limiting sales to Texas in addition to

  VusionGroup’s activity and locations in Texas. See Seasons USA, Inc. v. SCS Direct, Inc., 2023

  WL 5344342, *2 (E.D. Tex. June 9, 2023).

         Additionally, as discussed above, both Moving Defendants

                                                                               . See supra Section

  III.B.1. With respect to Captana GmbH’s



                                                                                . Id. Additionally,

  VusionGroup GmbH                                                                                .

  Id.

         Further, it is undisputed that Captana GmbH and VusionGroup GmbH

                                                                Ex. 1 at 40:20–41:12; 50:12–17.

                                                       . at 40:20–41:12, 50:12–17; Ex. 2 at 13:2–

  11.

                                                          Ex. 2 at 13:2–11.

                                                                              . Ex. 2 at 13:12–19.

  Further,



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          Ex. 1 at 61:15–21; 66:22–25; Ex. 2 at 10:2–16; Ex. 10. Similarly, Ms. Vittorio testified

  that

           . Ex. 1 at 99:7–12.

         Not only are the Moving Defendants

         but as also discussed above, both entities

                                                      Ex. 2 at 9:15–10:1, 53:12–21; Ex. 1 at 64:4–16;

  Ex. 3 at 12–13. For example, Captana GmbH

                                                   Ex. 2 at 9:15–10:1. Captana GmbH also



                         . Ex. 2 at 53:12–21. VusionGroup GmbH employees



                      Ex. 1 at 64:4–16; Ex. 3 at 12–13.

                                                                         See e.g., Dkt. No. 38-1 at ¶¶

  6–7; Dkt. No. 38-2 at ¶ 12.

         In view of the above, it is apparent that Moving Defendants

                             Moving Defendants are

         and Moving Defendants’ activities                              in Texas were such that they

  should reasonably have anticipated being brought into court in Texas. This establishes that

  personal jurisdiction exists.

                 3.       Exercising Personal Jurisdiction Over the Moving Defendants Would
                          Not Offend Traditional Notions of Fair Play and Substantial Justice

         When a plaintiff establishes minimum contacts between the defendant and the forum state,

  the burden of proof shifts to the defendant to show that the assertion of jurisdiction is unfair and

  unreasonable. Dontos v. Vendomation NZ Ltd., 582 F. App'x 338, 343 (5th Cir. 2014) (citing Cent.


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  Freight Lines Inc. v. APA Transp. Corp., 322 F.3d 376, 384 (5th Cir. 2003)). It is rare to say that

  the exercise of jurisdiction is unfair after minimum contacts have been shown. Wien Air Alaska,

  Inc. v. Brandt, 195. F.3d 208 (5th Cir. 1999). The Fifth Circuit evaluates whether the exercise of

  specific jurisdiction is unfair and unreasonable by considering the following factors: (1) the burden

  on the nonresident defendant, (2) the forum state's interests, (3) the plaintiff's interest in securing

  relief, (4) the interest of the interstate judicial system in the efficient administration of justice, and

  (5) the shared interest of the several states in furthering fundamental social policies. Seasons USA,

  Inc. v. SCS Direct, Inc., 2023 WL 5344342, *2 (E.D. Tex. June 9, 2023).

          First, the burden on Moving Defendants would not be substantial such that the exercise of

  specific jurisdiction would be unfair and unreasonable. The Fifth Circuit has held that it is not

  unreasonable for foreign defendants to defend themselves in Texas if the defendants avail

  themselves of the benefit of the state’s market. Seasons USA, 2023 WL 5344342, *2 (citing Luv

  N'care, 438 F.3d at 474). As established in Sections III.B.1–2, Moving Defendants are aware that

  the Accused Products



                                         . See supra Sections III.B.1–2. Moving Defendants have

  therefore availed themselves of the benefit of Texas’ market and it is not unreasonable for Moving

  Defendants to defend themselves in Texas.

          Second, the state of Texas has an interest in adjudicating this matter. This Court has held

  that the forum state has a legitimate interest in adjudicating a dispute involving a defendant that

  hires Texas employees to work and sell goods in the state to Texas consumers. Seasons USA, 2023

  WL 5344342, *2 (citing Ruston Gas Turbines, Inc. v. Donaldson Co., 9 F.3d 415, 421 (5th Cir.

  1993).). Additionally, this Court has held that this factor favors finding that personal jurisdiction



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  exists because both Texas and the United States have an interest in enforcing federal patent laws.

  See AX Wireless LLC v. Lenovo Group Ltd., 2023 WL 7105701, *5 (E.D. Tex. Sep. 6, 2023) (“The

  second, third, and fourth factors favor jurisdiction because both Texas and the United States have

  an interest in enforcing federal patent laws and providing a forum for AX Wireless to efficiently

  pursue and resolve its patent infringement claims.”).



                                             The importation, offer for sale, and sale of the Accused

  Products are central to Plaintiffs’ claims for patent infringement.



                                                          Ex. 1 at 24:24–25:1. Therefore, Texas has a

  legitimate interest in adjudicating this matter.

         Third, Plaintiffs have an interest in securing relief. While Moving Defendants do not

  dispute this, Moving Defendants argue that Plaintiffs’ interests will not be negatively impacted if

  Moving Defendants are removed from this case. See Motion at 10. However, it is likely that

  Moving Defendants have necessary information and documents relevant to this case.




                                                                               Furthermore, Plaintiffs

  have an obvious interest in preventing patent infringement in Texas, which this Court has

  recognized as favoring jurisdiction. See AX Wireless LLC, 2023 WL 7105701 at *5.

         Fourth, exercising specific jurisdiction over Moving Defendants supports the efficient

  administration of justice. Discovery is ongoing. Therefore, exercising specific jurisdiction over

  Moving Defendants would allow Plaintiffs to access necessary information and documents during



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  the course of discovery without having to resort to unnecessary third-party discovery fights.

  Additionally, this Court has held that this factor weighs in favor of jurisdiction because both Texas

  and the United States have an interest in providing a forum to efficiently pursue and resolve patent

  infringement claims. See id. at *5.

         Fifth, the state of Texas has an interest in furthering social policies such as patent

  enforcement and discouraging patent infringement. See id. at *5 (“The fifth factor also supports

  jurisdiction because Texas and the United States have an interest in discouraging patent

  infringement.”). Moving Defendants argue that social interests of the United States and Texas are

  not offended by the dismissal of Moving Defendants. Motion at 11. However, this statement is

  incorrect. Texas, like every state in the United States, has an interest in ensuring that patent laws

  are obeyed.

         C.      Personal Jurisdiction Can Be Established Under Fed. R. Civ. P. 4(k)(2)

         Even if the Court finds that the Moving Defendants do not have personal jurisdiction in

  Texas, which they do, exercising personal jurisdiction over the Moving Defendants is proper under

  Fed. R. Civ. P. 4(k)(2). Fed. R. Civ. P. 4(k)(2) recites that “[f]or a claim that arises under federal

  law, serving a summons or filing a waiver of service establishes personal jurisdiction over a

  defendant if: (A) the defendant is not subject to jurisdiction in any state’s courts of general

  jurisdiction; and (B) exercising jurisdiction is consistent with the United States Constitution and

  laws.” Fed. R. Civ. P. 4(k)(2). Here, Plaintiffs allege, and Moving Defendants do not dispute, that

  the district court possesses subject matter jurisdiction over this action pursuant to 28 U.S.C. §§

  1331 and 1338(a). Dkt. No. 1 ¶ 11. Thus, the claims arise under federal law.

         With respect to the second requirement of Fed. R. Civ. P. 4(k)(2), the Federal Circuit has

  found that “the purposes of Rule 4(k)(2) are best achieved when the defendant is afforded the

  opportunity to avoid the application of the rule only when it designates a suitable forum in which

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  the plaintiff could have brought suit.” Touchcom, Inc. v. Bereskin & Parr, 574 F.3d 1403, 1415

  (Fed. Cir. 2009). Thus, where “the defendant contends that he cannot be sued in the forum state

  and refuses to identify any other where suit is possible, then the federal court is entitled to use Rule

  4(k)(2).” Id. (citing ISI Int'l, Inc. v. Borden Ladner Gervais LLP, 256 F.3d 548, 552 (7th

  Cir.2001)). Here, the Moving Defendants assert personal jurisdiction is improper in Texas but fail

  to identify any other state in which suit is possible. Motion at 11–12.

          Thus, the only element left for the Court to consider is whether “exercising jurisdiction is

  consistent with the United States Constitution and laws.” Fed. R. Civ. P. 4(k)(2). In that analysis,

  as Moving Defendants recognize, the Court “contemplates a defendant’s contacts with the entire

  United States, as opposed to the state in which the district court sits.” Touchcom, Inc., 574 F.3d

  at 1416 (quoting Synthes (U.S.A.) v. G.M. Dos Reis Jr. Ind. Com. De Equip. Medico, 563 F.3d

  1285, 1295 (Fed. Cir. 2009)). In other words, the Court assesses whether the (1) defendant has

  purposefully directed its activities a residents in the United States, (2) claim arises out of or relates

  to the defendant’s activities with the United States, and (3) the assertion of personal jurisdiction is

  reasonable and fair. Id. While the Moving Defendants assert that these elements are not met

  “because neither defendant has any contacts with the United States such that the exercise of

  jurisdiction over the defendants is consistent with Due Process,” as discussed above, these

  statements could not be further from the truth.

          The Moving Defendants have had

                                                                                                          .

  Additionally, individuals from the Moving Defendants



                                                                . Ex. 2 at 9:1–5.



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                                                                the Moving Defendants are

                 , and for at least the Captana Accused Products,



                                                                                                      .

  Ex. 2 at 13:12–19. Further,




               . Ex. 2 at 11:6–25; Ex. 1 at 65:22–25; Ex. 10.

         That neither of the Moving Defendants are incorporated in or have a principal place of

  business in the United States is of no moment. See Touchcom, Inc., 574 F.3d at 1415–16 (holding

  that a federal court is entitled to use Rule 4(k)(2) if the defendant contends that he cannot be sued

  in the forum state and refuses to identify any other where suit is possible). Neither is required to

  establish that jurisdiction under Fed. R. Civ. P. 4(k)(2). See id. at 1412.




  which are                                                   by Captana GmbH, and the VUSION

  ESLs, for which VusionGroup GmbH                                                  , that give rise to

  Plaintiffs’ claims of patent infringement in this action. See Dkt. No. 1 at ¶¶ 22–38.

         Lastly, for the same reason as discussed above, exercising jurisdiction over the Moving

  Defendants would be reasonable and fair.




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         Thus, even if the Court finds that personal jurisdiction does not exist in Texas, the Court

  should nevertheless deny the Moving Defendants’ Motion as personal jurisdiction is proper under

  Fed. R. Civ. P. 4(k)(2).

         D.      VusionGroup GmbH’s Appearance in a Prior Litigation Establishes that
                 Personal Jurisdiction is Proper in Texas

         VusionGroup GmbH attempts to distinguish its involvement in Hanshow Technology Co.,

  Ltd. v. SES-Imagotag SA and SES-Imagotag GmbH Case No. 2:23-cv-00174 (E.D. Tex.)

  (“Hanshow I”) from this case by focusing on the fact that this action accuses the Captana Accused

  Products of infringement and includes Captana GmbH as a named Defendant. Moving Defendants

  tellingly ignore, however, that the VUSION ESLs are accused in both cases. See e.g., Dkt. No. 1

  at ¶¶ 24, 26, 32, 34; see also Hanshow I, Dkt. No. 1 at ¶¶ 24, 26, 52. Additionally, Moving

  Defendants cite to cases suggesting that a prior appearance does not necessarily waive personal

  jurisdiction in a future action within the jurisdiction. See Motion at 12–13 (citing Wapp Tech Ltd.

  P’ship v. Micro Focus Int’l, PLC, 406 F.Supp.3d 585, 594 (E.D. Tex. Aug. 13, 2019) and

  Rozenblat v. Sandia Corp., 2006 WL 678923, *3 (Fed. Cir. 2006).). However, the cited cases are

  inapposite. For example, the Court in Wapp Tech held that Defendant did not waive personal

  jurisdiction “by appearing in a previous, unrelated case filed in the same district.” Wapp Tech,

  406 F.Supp.3d at 594. In so holding, the Court focused on the fact that the prior case was unrelated

  to the case at issue. Id. However, the instant action is similar to Hanshow I because the two cases

  involve related parties and an overlap in accused products, which Moving Defendants admit.

  Motion at 13. Therefore, the factual underpinnings of the cited cases such as Wapp Tech do not

  apply here.




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  V.     CONCLUSION

         For all the foregoing reasons, Plaintiffs respectfully request that the Court deny Moving

  Defendants’ Motion.




  Dated: July 29, 2024                                        Respectfully Submitted,

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                       CERTIFICATE OF AUTHORIZATION TO SEAL

         Pursuant to Local Rule CV-5(a)(7)(B), the undersigned certifies that the foregoing

  document and following attachments are permitted to be filed under seal pursuant to the Protective

  Order (Dkt. No. 41) governing this case.


                                                      /s/ Boyd Cloern
                                                      Boyd Cloern

                                  CERTIFICATE OF SERVICE

         I hereby certify that a copy of the foregoing document was filed electronically in

  compliance with Local Rules. Therefore, this document was served on all counsel who are deemed

  to have consented to electronic service on July 29, 2024.


                                                      /s/ Boyd Cloern
                                                      Boyd Cloern




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